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                     Exhibit C
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                                                           6/14/19, 15)41




       Home          Moments                                         Search Twitter                           Have an account? Log in




                                             Tweets   Following       Followers         Likes
                                                                                                                                  Follow
                                             283              1        1,526             6

             漫画村@星のロミ 【公…
                                             Tweets           Tweets & replies                Media
      漫画村@星のロミ
        @hoshinoromikuma
                         【公式】                                                                         7:58 AM - 31 May 2019
      @hoshinoromikuma                            Pinned Tweet
                                                   漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31                                                 
      新しい漫画村を紹介するクマ∼！ ＊運営
                                                   新しい漫画村が復活しました！
      者ではございません＊ミュート推奨
                                                   hoshinoromi.org
                                                   #漫画村
       東京
                                                   #漫画村復活
       hoshinoromi.org                            #漫画無料
       Joined May 2019                            #星のロミ
                                                   #漫画
       9 Photos and videos                        #漫画タウン
                                                   #フリーブックス
                                                   #拡散希望
                                                   #漫画大好き
                                                   #漫画村代わり
                                                   #みんなのヒーロー
                                                   #漫画村最高
                                                   #漫画村復活したクマ

                                                                            星のロミ -漫画村クローン-
                                                                            無料で約80,000冊の漫画を読める漫画村のクローンサイ
                                                                            トです。少年系、青年系、少女系、女性系、BL系、メ
                                                                            ディア化作品、漫画雑誌などがあります
                                                                            hoshinoromi.org


                                                         6           71               186



https://twitter.com/hoshinoromikuma                                                                                                   Page 1 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41


                                                 Show this thread

                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 54m   
                                                 漫画村批判してくる人に対して、無料動画サイトもmusic FMも使ったことの無
                                                 い人は、ほとんどいないから勝てるクマクマクマ∼！たとえ、YouTubeでも違法
                                                 アップロードしたのがたくさんあるからなんとも言えないクマクマ∼！！

                                                                      2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 3h  
                                                 フォロワーさんが1500人になったクマクマ∼！！！いつもありがとうクマクマ
                                                 クマ∼！！

                                                                  1   1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 6h           
                                                 漫画村のせいでテストの点数や成績下がる人いそうクマクマクマクマ∼！！

                                                                      2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 7h           
                                                 漫画村がある生活と漫画村の無い生活じゃ全然違うクマクマクマクマ∼！！

                                                                      2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 8h           
                                                 漫画村を作った人、考えた人って天才だと思うクマクマクマ∼！！

                                                                      5


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 8h           
                                                 Regiさんにいいねされたクマクマクマクマクマクマ∼！！！




                                                            
https://twitter.com/hoshinoromikuma                                                         Page 2 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41



                                                                    1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 14h          
                                                 漫画村も立ち読みもあまり変わらないクマクマクマクマクマクマ∼！

                                                            1       3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · 17h          
                                                 漫画村ほどゾンビなサイトないクマクマクマクマクマクマ∼！！

                                                                    2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 13       
                                                 漫画村を知っている人同士でお友達を増やすクマクマクマクマ∼！！

                                                                    3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 13       
                                                 たくさんのフォロワーさんがいて幸せクマクマクマクマ∼！！！

                                                         
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 13 
                                                 旧漫画村が閉鎖した時に、漫画の売上が上がったから今回の新漫画村が復活して
                                                 また利益下がるクマクマクマクマ∼！！！！今度はどんな対策をしてくるクマク
                                                 マ∼？？

                                                            2       4


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 13       
                                                 漫画村の本どのくらいの量に増えていくクマクマクマクマ∼？？

                                                    1               3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 13       
                                                 漫画村最高だクマクマ！！！！！！！！！！！！！

                                                                    1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 13       
                                                 漫画村最高クマクマクマクマ∼！！

                                                                    3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 全国に漫画村が広がっていくクマクマクマクマ∼！

                                                            2       4


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 漫画村を使っている人で寝落ちする人たくさんいそうクマクマ∼
                                                 ∼！！！！！！！！！！！！！

                                                                    2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 漫画って1話でも読むと止まらなくなるクマクマ∼∼！

                                                         
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 反対の人でも漫画村読んでたら面白いクマクマクマクマクマクマ∼！

https://twitter.com/hoshinoromikuma                                                         Page 3 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41




                                                           1      3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 漫画村の読みすぎで寝不足になる人が増加する可能性が高いクマクマクマクマク
                                                 マクマ∼！

                                                        
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 90176冊の本が無料で読めるなんて読み切れないクマクマクマクマクマクマ∼！
                                                 けど、無い本もあるから残念クマクマクマクマ∼！！
                                                 #漫画村




                                                                  1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 ブロックされる前に対策しておくクマクマクマクマクマクマ∼！
                                                 #漫画村




https://twitter.com/hoshinoromikuma                                                         Page 4 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41




                                                            2        3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 漫画村見てる人に「漫画村見るな」って言ってもサイトを知ってしまった以上止
                                                 められないクマクマクマクマ∼！

                                                            1        1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 星のロミの方の漫画村がニュースにならないのはなぜクマクマクマクマクマクマ
                                                 ∼？？

                                                            1        1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 漫画村復活しましたクマクマ！ダイナミック壁紙を作ってしまったクマクマクマ
                                                 クマクマクマクマクマ∼！

                                                 youtu.be/NmqLnLOWFEk @YouTubeより




                                                                     1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 漫画村読んでる人同士だったら仲良くなれそうな気がするクマクマクマクマ
                                                 ∼！！

                                                                     1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 漫画村がもし潰れてももう1つあるから安心クマクマ∼！
https://twitter.com/hoshinoromikuma                                                         Page 5 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41


                                                 漫画村がもし潰れてももう1つあるから安心クマクマ∼！

                                                                    4


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 漫画村のいい所は、みんなの暇な時間の時に役立つクマクマクマクマクマ∼！漫
                                                 画読んでる友達とも話が出来るクマクマ！でも、漫画村で読んでるって言っちゃ
                                                 うと嫌われるかも知らないから気をつけるクマクマ∼！

                                                         
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 2018年に国を巻き込んで議論された漫画村が2019年に復活したクマクマクマク
                                                 マ∼！！

                                                                    2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 クラスに1人は漫画村使っている人がいると思うマクマクマクマ∼！

                                                                    2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
                                                 あつまれ 漫画村

                                                                    2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 フォロワーのみなさんが1000人超えたクマクマクマクマ∼！いつもありがとう
                                                 ございますクマクマ∼！！！




                                                                    4


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12       
https://twitter.com/hoshinoromikuma                                                         Page 6 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                  6/14/19, 15)41


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12         
                                                 漫画村なんだかんだみんな好きクマクマ∼

                                                            1       3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 12 
                                                 フォロワーさんが900人超えたクマクマ∼！いつもありがとうクマクマ∼∼！

                                                                    1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11 
                                                 え？？漫画が無料で読めるクマクマ∼？そんな時は漫画村クマクマ∼！！雑誌も
                                                 読めるクマクマクマ∼！！
                                                 #漫画
                                                 #漫画村
                                                 #無料

                                                         
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11         
                                                 漫画村キャラクター「らりっくま」の壁紙が出来たクマクマ∼∼！！           りたい
                                                 人、漫画村が嫌いな人に送り付けるクマクマクマクマクマ∼！！




                                                            1       3


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11         
                                                 漫画村に4万人の人が来てくれたクマクマ∼！ありがとうクマクマ∼！！




https://twitter.com/hoshinoromikuma                                                          Page 7 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41




                                                        
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11 
                                                 フォロワーのみなさんが800人になったクマクマクマ∼！いつもありがとうクマ
                                                 クマクマ∼！

                                                                  2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11 
                                                 このアカウントをフォローしていればいつでも漫画村に飛べるクマクマクマクマ
                                                 ∼！

                                                        
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11 
                                                 漫画村を利用することで、話の幅が広がるクマクマクマ∼。当然嫌がる人もいる
                                                 クマクマクマ∼！人間って難しいクマクマクマ∼！

                                                        
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11       
                                                 フォロワーさんが700人に増えたクマクマ∼！ありがとうクマクマ∼！

                                                    1             2


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 11 
                                                 漫画村が復活したことで、漫画を買う人がいなくなるクマクマクマクマ∼。その
                                                 影響で漫画を書く人がいなくなるクマクマ∼

                                                        
                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                 漫画村をネットニュースに記載するから利用者が増えるんだクマクマクマ∼！

                                                           1      1


                                                 漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                 漫画村の運営者が逮捕されたら、どのくらいの請求額になるか気になるクマクマ

https://twitter.com/hoshinoromikuma                                                         Page 8 of 26
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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41


                                                クマ∼！

                                                                     1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                漫画村のサイト見て分かったけど、あのクオリティを生み出し、知識を持ってい
                                                るなら社会人として働いていたら出世間違いないクマクマ∼！

                                                           
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                星のロミの方の漫画村は広告がないから素晴らしいクマクマクマ∼！でも、広告
                                                付けないとお金が入らないと思うけど、なんのために運営しているクマクマク
                                                マ！？？

                                                                 1   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                フォロワーのみなさんが600人いったクマクマ∼！いつもありがとうクマクマ
                                                ∼！

                                                   1       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                新しい漫画村がこのまま潰れないなら、違法サイトの中で一番知られるようにな
                                                ってしまうクマクマクマ∼

                                                   2             2   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10        
                                                漫画村賛成の人が多かったクマクマ∼！嬉しいクマクマ∼！

                                                                     1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10        
                                                みなさんありがとうございますクマクマクマ∼！

                                                                     1

                                                Show this thread

                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                漫画村の統計結果出たクマ∼！！1485人の参加してくれたみなさんありがとう
                                                ございますクマクマクマ∼∼

                                                           
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 10 
                                                漫画村のアンケート1000人超えたクマクマクマ∼∼！ありがとうございますク
                                                マクマ∼∼！

                                                           
                                               漫画村@星のロミ 【公式】 Retweeted
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                どのくらいの比率か知りたいクマ∼！
                                                協力して欲しいクマ∼
                                                #漫画村

                                                 68% 漫画村賛成

                                                 32% 漫画村反対

https://twitter.com/hoshinoromikuma                                                         Page 9 of 26
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                                                 32% 漫画村反対

                                                1,485 votes • Final results



                                                    2            20         17

                                                Show this thread

                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                漫画村に全員集合クマクマクマクマ∼

                                                            
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                ニュースになってるけど、漫画村は何ヶ月くらい持つクマ∼？！

                                                                            1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                漫画村よりも違法のサイトってどんなものクマクマクマ∼？

                                                            
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9 
                                                フォロワーのみなさんが300人なったクマ∼！いつもありがとうございますクマ
                                                クマ∼

                                                                            1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                漫画村賛成の人の方が多いクマクマクマ∼！なんか嬉しいクマクマ∼

                                                                            1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                漫画村のアンケート協力お願いしますクマクマ∼

                                                            
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9  
                                                漫画村が復活したことによって、LINEマンガやKindleで読んでる人たち全員が漫
                                                画村って疑うようになるクマクマ∼。買ってる人、合法で読んでる人がかわいそ
                                                うクマクマ∼
                                                #漫画村

                                                                 1          4


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9 
                                                漫画村で時間は、無限に潰せるクマ∼∼∼∼∼！暇な時間なんてないクマ∼∼
                                                ∼！みんなで遊びにおいでクマクマ∼！

                                                            
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9 
                                                漫画村というパワーワード、ネーミングセンスいいクマクマクマクマクマクマ∼
                                                ∼

                                                                            1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9         
                                                本屋で立ち読みも漫画村もさほど変わらないクマ∼∼


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                                                                   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 9 
                                                漫画村はあるのに、参考書村や一般の本があるサイトはないクマ∼∼∼！やっぱ
                                                漫画が1番クマクマ∼

                                                                   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8         
                                                漫画たくさん読む人や漫画が好きな人に漫画村をオススメするクマ∼！

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8         
                                                漫画村最高だクマ∼。けど、見たいものがないクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8 
                                                漫画村が今のところ2つあるから片方が潰れても保険があるクマね∼∼！バンザ
                                                イクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8 
                                                漫画村が潰れてもゴキブリのように復活するクマクマ∼！完全にイタチごっこク
                                                マクマクマ∼！

                                                   1               4


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8         
                                                漫画村はこれからどうなるクマ∼？前回と同じように時間の問題クマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8 
                                                漫画村復活したクマクマ！サーバー強化でスムーズにページがめくれるようにな
                                                ったクマクマクマ∼！

                                                   1       1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8         
                                                漫画村が前より読みやすくなったクマクマクマクマクマクマ∼！

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8 
                                                漫画村復活したクマクマクマクマ∼！みんな漫画村に遊びにくるクマクマクマ
                                                ∼！夢の国だクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8         
                                                漫画村復活したクマ∼！みんな集まるクマクマクマ∼！

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8         
                                                漫画村を拡散するクマクマクマクマ∼！漫画村が大好きクマ！

                                                        

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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                      6/14/19, 15)41



                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8              
                                                漫画村が快適になったクマクマクマクマクマクマクマ∼！

                                                                            2


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8 
                                                漫画村のサーバーが強化されたから高速で漫画が読めるクマクマクマクマクマク
                                                マクマクマクマ∼

                                                                            3


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 8              
                                                漫画村復活したクマクマクマクマクマクマクマ∼！友達を誘ってくるクマ！

                                                           
                                               漫画村@星のロミ 【公式】 Retweeted
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 7              
                                                もう1つの漫画村も実はあるんだクマクマクマクマ∼
                                                mangamura.club
                                                #漫画村
                                                #漫画村復活
                                                #漫画無料
                                                #星のロミ
                                                #漫画
                                                #漫画タウン
                                                #フリーブックス
                                                #拡散希望
                                                #漫画大好き
                                                #漫画村代わり
                                                #みんなのヒーロー
                                                #漫画村最高
                                                #漫画村復活したクマ
                                                 #ありがとうクマさん

                                                                       漫画村.clubホーム - 漫画村.club
                                                                       毎日漫画をアップロードする
                                                                       mangamura.club




                                                                 1          5


                                               漫画村@星のロミ 【公式】 Retweeted
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 7              
                                                実はYouTubeでダイナミック壁紙を配信してるクマクマクマ∼

                                                                       PALダイナミック壁紙
                                                                       このチャンネルでは主にダイナミック壁紙を投稿してい
                                                                       きたいと思っております！ ぜひ、興味があった方はチャ
                                                                       ンネル登録をお願いします。リクエストも受け付...
                                                                       youtube.com


                                                                 1          5

                                                Show this thread


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漫画村@星のロミ 【公式】 (@hoshinoromikuma) | Twitter                                                 6/14/19, 15)41




                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 7 
                                                漫画村に友達を誘ってきてクマクマクマ∼！漫画の話で盛り上がり間違いないク
                                                マクマ∼

                                                   1               1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 7 
                                                漫画村復活したクマクマクマクマクマ∼！みんなも遊びにおいでクマクマクマ！

                                                                   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 6         
                                                漫画村復活したクマクマクマクマ∼！
                                                みんな遊びにおいでクマクマクマクマ∼

                                                                   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 6 
                                                フォロワーのみなさんが100人超えたクマ∼！ありがとうございますクマクマク
                                                マクマ∼！！

                                                   2               1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 5 
                                                漫画村を広めるクマクマ∼！漫画が無料で読めるなんて夢の国だクマ∼！友達を
                                                誘って遊びに来るクマクマクマクマクマ∼！




                                                                   2


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 5         
                                                漫画村をもっと拡散するクマクマクマクマクマ∼みんなのものだクマ∼∼

                                                                   1

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                                                                   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 5         
                                                みんな漫画村に集合だクマクマクマクマクマクマクマクマ∼

                                                           1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 5         
                                                みんなで漫画村をリツイートして広げるクマクマクマクマ∼

                                                           1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 4         
                                                漫画村復活したクマクマクマクマ∼。プロフィールを覗くクマ∼

                                                           1       1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 4 
                                                漫画村復活したクマクマクマクマクマクマクマクマ∼！遊びにおいでクマクマク
                                                マクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 3         
                                                漫画村復活したクマクマ∼。みんなで遊びに来るクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2         
                                                漫画村を拡散するクマクマクマクマクマ∼、漫画村大好きクマクマクマクマ

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2         
                                                漫画村復活したクマクマクマクマクマクマ∼。友達を誘うクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2         
                                                漫画村復活したクマクマクマクマ∼
                                                漫画村を拡散するクマクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2         
                                                漫画村復活したクマクマクマクマクマクマクマ∼
                                                 #匂わせツイートグランプリ
                                                #シェンロン待機中
                                                #BLACKPINK
                                                #JISOO
                                                #3YearsWithJennie

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2 
                                                漫画村復活したクマクマクマクマ∼！漫画村出身の人達戻っておいでクマ∼クマ
                                                クマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2 
                                                漫画村が復活したクマクマクマクマクマクマ∼！みんな遊びにおいでクマクマク

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                                                漫画村が復活したクマクマクマクマクマクマ∼！みんな遊びにおいでクマクマク
                                                マクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2         
                                                漫画村、星のロミを拡散するクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2 
                                                漫画村復活したクマクマクマクマクマクマクマクマ∼。遊びにおいでクマクマク
                                                マクマ！

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2 
                                                漫画村復活したクマクマクマクマクマクマクマ∼！みんなで遊びにおいでクマク
                                                マクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 2 
                                                漫画村復活したクマクマクマクマクマクマクマクマクマクマクマクマクマクマク
                                                マクマ∼
                                                リツイートして拡散するクマクマクマクマ

                                                           1       1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みんな∼漫画村に遊びにおいでクマクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマ∼。夢の国だクマクマクマ∼。しかもウ
                                                イルスがないクマ∼

                                                #precure
                                                #プリキュア
                                                #すとぷり
                                                #ワノ国
                                                #嵐
                                                #タダなのになぜ見ない
                                                #あなたの人生は何色か

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマ∼。夢の国だクマクマクマ∼。しかもウ
                                                イルスがないクマクマ∼
                                                #漫画村
                                                #漫画
                                                #ゲゲゲの鬼太郎
                                                #ワンピース

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマ∼。夢の国だクマクマクマ∼。しかもウ
                                                イルスなしクマクマクマ∼

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                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画が無料で読める！漫画村最高だクマ∼。夢の国だクマクマクマ∼クマ∼
                                                友達と一緒に来てクマ∼

                                                            1      1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画が無料で読める！漫画村最高だクマ∼。夢の国だクマクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                よくわからない漫画買うの怖いクマクマ∼！じゃあ、漫画村で読むクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に集まれクマクマクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマ∼

                                                #ヘタリア7期カモン
                                                #大倉くんと高橋くん
                                                #歌い手
                                                 #映画
                                                 #テレビ
                                                 #タピオカ
                                                 #ホスト
                                                 #裏垢女子と繋がりたい
                                                 #猫
                                                #あなたが聴きたい歌の4時間スペシャル

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #松村北斗
                                                #田中樹
                                                #太田夢莉
                                                 #仙狐さん
                                                 #地震速報
                                                 #うたコン
                                                 #CDTV
                                                 #ジャニーズ
                                                 #櫻井翔
                                                #ARASHI

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ

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                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #俺スカ
                                                #あなたの人生は何色か
                                                #プチ
                                                 #迷子犬
                                                 #里親募集
                                                 #炎上
                                                 #漫画ダブル
                                                 #漫画アクション
                                                 #ダーマ
                                                #モトキ

                                                       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #漫画家志望
                                                #漫画家志望さんと繋がりたい
                                                #漫画好きと繋がりたい
                                                 #アニメ好きな人と繋がりたい
                                                 #アニメ
                                                 #BL
                                                 #シルク
                                                 #ぺけたん
                                                 #んだほ
                                                #てんちむ

                                                       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #さんこいち
                                                #おるたなチャンネル
                                                #パオパオチャンネル
                                                 #東海オンエア
                                                 #YouTuber
                                                 #ヒカル
                                                 #ラファエル
                                                 #フィッシャーズ
                                                 #はじめしゃちょー
                                                #セイキン

                                                       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #写真集
                                                #月曜から夜ふかし
                                                #イレーン
                                                 #パーフェクトワールド

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                                                 #パーフェクトワールド
                                                 #拡散希望RTおねがいします
                                                 #漫画大好き
                                                 #漫画村
                                                 #松本人志
                                                 #CDTV
                                                #・RA・SHI

                                                       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #ヒカキン
                                                #拡散希望
                                                #ゲオディスカウント
                                                 #拡散希望RT
                                                 #荒野行動
                                                 #MusicFM
                                                 #川崎
                                                 #武術
                                                 #猫
                                                #犬

                                                       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #響けユーフォニアム
                                                 #ABChanZoo
                                                 #大野智
                                                #拡散希望
                                                 #m1
                                                 #拡散希望RT
                                                 #ミスコン
                                                 #動画
                                                 #漫画村
                                                 #嵐ベストアルバム
                                                #メンヘラさんと繋がりたい

                                                       
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1 
                                                漫画が無料で読める！漫画村最高だクマクマクマクマクマクマクマクマクマクマ
                                                クマクマクマクマクマクマクマクマクマクマクマクマクマ∼

                                                #歌い手さんMIX師さん動画師さんPさんと繋がりたい
                                                #拡散希望
                                                #歌い手
                                                 #拡散希望RT
                                                 #Amazonギフト券
                                                 #MusicFM
                                                 #漫画村
                                                 #arashi
                                                 #嵐にしやがれ
                                                #CM
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                                                #CM

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に友達を連れて遊びにおいでクマクマクマ∼

                                                                   1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みなさーん、漫画村が復活したクマクマクマクマクマ∼
                                                #annkw

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みなさ∼ん、漫画村が復活しましたクマクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に遊びにおいでクマクマ∼∼∼∼∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村は復活したクマクマ∼。みんな遊びにおいでクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                ツイートしすぎてるクマ∼。ミュート推奨クマクマ∼
                                                #漫画村

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に遊びにおいでクマクマクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                金ない人集まれクマクマクマクマクマクマクマ∼∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村においでクマ∼クマクマ∼

                                                     1   
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に招待するクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に遊びにおいでクマクマ∼

                                                         
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマ∼

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                                                漫画村復活したクマ∼
                                                #nhkらじらー

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマ∼クマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマ∼。遊びに来て欲しいクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマクマクマクマクマ拡散するクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に遊びに来て欲しいクマクマクマクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村に入りたい人はプロフィールをチェックするクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                友達と一緒に漫画村に遊びに来て欲しいクマ∼！

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                令和初の漫画村だクマ∼。友達連れてきてクマ∼
                                                #漫画村
                                                #musicfm

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みんなで漫画村を拡散するクマ∼

                                                           1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村のurl張ってるクマ∼。みんなを招待するクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
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                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村出身の人たち戻っておいでクマクマクマクマクマ∼∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村出身の人戻っておいでクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                漫画村復活したクマクマ∼遊びにおいでクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みんな漫画村に遊びにおいでクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みんなも漫画村に遊びにおいでクマクマクマクマ∼∼∼∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みんなの大好きな漫画村があるクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · Jun 1         
                                                みんなも漫画村に遊びにおいでクマクマクマクマクマ∼∼∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活したクマ∼。詳細をクリックするクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活バンザイクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画をダウンロードするのはダメくま∼、でも漫画村は違法じゃないクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活したクマクマクマクマクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活しましたクマクマクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村を超えるサイトは存在しないクマ∼

                                                        
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                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31 
                                                違法アプリをインストールしちゃいけないなら漫画村はOKということクマクマ
                                                クマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村に遊びにおいでクマクマ∼
                                                プロフィールを覗くクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村に遊びにおいでクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                お金が無い人集まれクマ∼
                                                お金を節約したい人集まれクマ∼
                                                #漫画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                四天王
                                                ・YouTube
                                                ・Anitube
                                                ・MusicFM
                                                ・漫画村

                                                           1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31 
                                                みんなを漫画村に招待するクマクマクマクマクマクマクマクマクマクマクマクマ
                                                クマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村に招待するクマ∼。プロフィールを見るクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村を拡散するクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31    
                                                漫画村のこといろいろ言ってる人いるけど、アニメや映画も無料サイトで見たこ
                                                とないクマ？MusicFMも使ったことないクマ？結局は同じクマ∼ #MusicFM #漫
                                                画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                MusicFMも漫画村も夢の国だクマ∼
                                                クマクマクマ∼ #MusicFM
                                                #漫画村
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                                                #漫画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                MusicFMも漫画村も使ったことない人は偉いクマ∼
                                                #MusicFM
                                                #漫画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31 
                                                MusicFMと漫画村を使えば最強だクマクマクマクマクマクマクマクマクマクマク
                                                マ∼
                                                #MusicFM
                                                #漫画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんなを夢の国、漫画村に招待するクマ∼∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                MusicFMと漫画村を使えば最強だクマ∼
                                                #MusicFM
                                                #漫画村

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんな漫画村に帰ってきてクマ∼

                                                                  3


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                musicFMよりも漫画村をおすすめするクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村に遊びに来てクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31 
                                                漫画村に遊びに来てクマクマクマクマクマクマクマクマクマクマクマクマクマク
                                                マクマクマクマクマクマクマクマクマクマクマ∼∼∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村にみんなを招待するクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村にようこそだクマ∼

                                                        

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                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                無料で漫画読めるなんて幸せクマ∼
                                                #漫画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんなを漫画村に招待するクマクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村を広めるクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31 
                                                漫画村に招待するクマ∼。友達を誘ってきてクマ∼。漫画村はみんなのものクマ
                                                ∼。喧嘩はだめクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんなのヒーローになるクマ∼
                                                #漫画村

                                                                  3


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                リツイートもいいねもありがとうございますクマ∼
                                                #漫画村

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんなリツイートありがとうございますクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村でみんなの休日を充実させるクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画が買えない人集まれクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村に来てクマ∼。みんなの暇な時間を助けるクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんなを漫画村に招待するクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村を広めるくま∼

                                                        
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                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                みんなが大好きな漫画村クマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31 
                                                漫画村復活したクマクマクマクマクマクマクマクマクマクマクマクマクマクマク
                                                マクマクマクマクマクマクマクマクマクマクマクマクマクマクマクマクマクマク
                                                マクマクマクマクマクマクマクマ

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村嫌いな人も好きな人もリツイートするクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村バンザイクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活したクマクマ

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活おめでとうクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活したクマクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村にウイルスは無いクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村拡散するクマ∼

                                                                  1


                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村復活したクマクマクマクマ

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村大好きクマ∼

                                                        
                                                漫画村@星のロミ 【公式】 @hoshinoromikuma · May 31        
                                                漫画村を拡散するクマ∼

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                                                                       




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                                             8,390 Tweets

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                                             of Old Glory this Flag Day

                                             Jackie O
                                             America has a new Jackie O
                                             and it's 'Melania T,'
                                             according to President
                                             Trump
                                             #FridayFeeling
                                             88.4K Tweets

                                             #CashAppFriday
                                             4,388 Tweets

                                             #ENGARG
                                             England vs Argentina:
                                             England make four lineup
                                             changes

                                             Gudas
                                             7,614 Tweets

                                             Harriet Tubman
                                             Here's a preliminary mockup
                                             of the delayed Harriet
                                             Tubman $20 bill

                                             Jackie Kennedy
                                             America has a new Jackie O
                                             and it's 'Melania T,'
                                             according to President
                                             Trump

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